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 7 Special Counsel To Richard A. Marshack,
   Trustee of the LPG Liquidation Trust
 8

 9
                              UNITED STATES BANKRUPTCY COURT
10
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
11

12
     In re:                                              Chapter 11
13
     THE LITIGATION PRACTICE GROUP P.C.                  Case No.: 23-bk-10571-SC
14
                   Debtor,                               NOTICE OF HEARING ON TRUSTEE'S
15                                                       MOTION FOR AN ORDER EXTENDING
                                                         THE ESTATE’S TIME TO FILE
16                                                       ACTIONS GOVERNED BY 11 U.S.C.
                                                         §§108, 546(a), AND 549(d)
17
                                                         Hearing:
18                                                       Date:    April 2, 2025
                                                         Time:    1:30 p.m.
19                                                       Judge:   Hon. Scott C. Clarkson
                                                         Place:   Courtroom 5C - Via Zoom1
20                                                                411 W. Fourth Street
                                                                  Santa Ana, CA 92701
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       Check Judge Clarkson’s tentative rulings prior to the hearing for Zoom connection information and
     instructions. http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/
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 1          TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL OTHER

 3 INTERESTED PARTIES:

 4          PLEASE TAKE NOTICE that on April 2, 2025 at 1:30 p.m. in Courtroom 5C of the United

 5 States Bankruptcy Court located at 411 West Fourth Street, Santa Ana, California, a hearing will be

 6 held on the Motion for an Order Extending the Estate’s Time to File Actions Governed by 11 U.S.C.

 7 §§ 108, 546(a), and 549(d) (Dkt. No. 2108, the "Motion") filed by Richard A. Marshack (“Trustee”),

 8 in his capacity as the former Chapter 11 Trustee for the Bankruptcy Estate (“Estate”) of the Litigation

 9 Practice Group P.C. (“Debtor”) and current Liquidating Trustee of the LPG Liquidation. The hearing
10 is set in response to the Objections [Dkt. No. 2196] filed by Marich Bein LLP and [Dkt. No. 2203]

11 filed by Consumer Legal Group, P.C.

12          PLEASE TAKE FURTHER NOTICE that the hearing will be conducted remotely using

13 Zoom. Video and audio connection information for the hearing will be provided on Judge Clarkson's

14 publicly posted hearing calendar, which may be viewed online at:

15 http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.

16 Dated: March 18, 2025                               DINSMORE & SHOHL LLP

17

18                                                     By: /s/ Yosina M. Lissebeck
                                                           Yosina M. Lissebeck
19                                                         Special Counsel To Richard A. Marshack,
                                                           Trustee of the LPG Liquidation Trust
20

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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document: NOTICE OF HEARING ON TRUSTEE'S MOTION FOR AN
ORDER EXTENDING THE ESTATE’S TIME TO FILE ACTIONS GOVERNED BY 11 U.S.C. §§108, 546(a),
AND 549(d)

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On March 18, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On March 18, 2025, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                   JUDGE'S COPY
                   The Honorable Scott C. Clarkson
                   United States Bankruptcy Court
                   Central District of California
                   Ronald Reagan Federal Building and Courthouse
                   411 West Fourth Street, Suite 5130 / Courtroom 5C
                   Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on March 18, 2025, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.



                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  March 18, 2025               Caron Burke                                               /s/ Caron Burke
  Date                          Printed Name                                             Signature




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August 2010                                                                         F 9013-3.1.PROOF.SERVICE
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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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